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SALINA M. KANAI #8096
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District of Hawaii

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Counsel for Defendant
ALDEN BUNAG

                     IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,                ) Mag. No. 22-01049 KJM
                                         )
              Plaintiff,                 ) Notice of Change of Counsel
                                         )
       vs.                               ) Certificate of Service
                                         )
ALDEN BUNAG,                             )
                                         )
              Defendant.                 )
                                         )


                            Notice of Change of Counsel

       COMES NOW, Jacquelyn T. Esser, Assistant Federal Defender (replacing

Federal Defender Salina M. Kanai), and hereby enters her appearance as counsel for

Defendant Alden Bunag, in all proceedings hereafter to the extent this case remains in

the federal court.
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      DATED: Honolulu, Hawaii, June 16, 2022.

                                       /s/ Jacquelyn T. Esser
                                      JACQUELYN T. ESSER
                                      Counsel for Defendant
                                      ALDEN BUNAG




United States v. Alden Bunag, Mag. No. 22-01049 KJM
United States District Court, District of Hawaii
Notice of Change of Counsel



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                               Certificate of Service

      I, JACQUELYN T. ESSER, hereby certify that on the date and by the method

of service noted below, a true and correct copy of the foregoing was served on the

following at their last known addresses on June 16, 2022:

      Served Electronically through CM/ECF:

             REBECCA A. PERLMUTTER            rebecca.perlmutter@usdoj.gov
             Assistant United States Attorney
                    Attorney for Plaintiff
                    UNITED STATES OF AMERICA

      DATED: Honolulu, Hawaii, June 16, 2022.

                                        /s/ Jacquelyn T. Esser
                                       JACQUELYN T. ESSER
                                       Counsel for Defendant
                                       ALDEN BUNAG
